 

ae

Exhibit N

 

 

 

i ie mn ia eens wg Oe Oe EL Oe, A,
orn Gariceriy. Wee mcs ees et ee per tee were being
deer tenisated npeiewt by Cor City os ea eww of rene ta tn City e ve

   

 

 

 

 

37
 

4 ae hoon ge ~_ ( ag

 

2, ‘The Divthan Wie Cio ise!
|e ke lounge Coeds Gh of Gothen.

 

Be o 2 ioe a ™ oe Ce

oe, hier Sift puncte soit preweat talk 0 heck
ss, ao, _—_ -. | |.
Dothan abet job oppertuniion for Mache with te Cay.

tbe.

 

 

apernd al Sek euplorces
scuparnd by ox foe ths

 

c. The Coe woh ie

 

jelvly ge (hw (ellewug changer eet
Pelee eee ee ee ee ee

33
B, Phk Chg ated

 

eury. tahoe tome eon

 

weerieg, proces, wl Wille ve ce ey eee et rece Geri
boliee madly br we Secs eget, wee. ee ee oe per
and br preparing a “Persoeer’ Policy Menea!” far tm Cop's BO program.
#- The Cefendert Polo Cael ani (elie Piece Coal, thee
.

 

oe alles, we 5 eres ey in eee

ae Bp ecieteedt from Mecemeieining geist Va ome

 

39

 
a.

   
 
 

pr iaahincigtiedielter tigen Apeserheii Da

we

ae

‘ees

   
 
 
   
  

eee hace

 

om ator. Mf the REG

aa te Se shin tin oii reper? ihe matter ts ep Personnel st
I

ated ageinet becenas

 

 

eee em, Pen or Clee

ee tegivier tor the por eel Dera
oA whall bw aieoliv ved ext the Felice Chief of de
- jag i es make providers] sppolatmesia for seek
eee well ee eccepieele ‘walidetet erie tn) Sed or eeimening Gevice
ce per eet or wee ee ee Pe poe. Te Pee eee
ree ae tin 29 dove an a Gergeee in te Deen

 

 

 

‘well at

40
 

 
  

sed, he will then take wach written teat end, Hf be athiever a

 

 

 

orn @ fee.

 

41
 

 

 
    
   

SGVEL OCPIOn RO. 74-573

ee

 

 

Come sow the Paxtios, by and vhrowgh (hele attomneys, and,
coupectfot ¥ ete the fonexvable Guarg os mee ang weond

 

 

ioe ; i.
ef is face poder ae epanenier accer

op are ve be filed.

 

 
  

to be poatet on Deport
aearda ef estry level poeitioses -
ace vecant and are to Se 61.

®

42

 
     

in Tne ® ie : .
tether; stony pea aii “leas
at whe City Board ef Séucation;

 

43

 
 
 

44
Exhibit O

 

 

2-MHT-SRW Document 63 Filed 06/22/15 Page 8 of 74

 

Id. Once, when exchanging money with a white officer
om a public corner, the officer said to him, “People
aren't going to know what. to think with a nigger giving
a white man money.“ Gray Deposition (doc. no. 34-3) at
110. Gray also recounta several uses of the slur by
officers away from hia presence; he became aware of
these incidents through the interns] investigations
that they sparked. He also contends that superior
officers developed code words to refer to people of
different races. |
Several officers were affiliated with organizations
and viewpoints that Gray considered racially offensive.
For example, Gray’s direct supervisor at the time of
his termination, Steve Parrish, was once a masher of
the Sons of Confederate Veterans, a group dedicated to
memorializing the history and values of the Southern
Confederacy .* Parrish named his son after Wathan
4 Gray has submitted evidence explaining that
there ia an ongoing debate among members of the Sons of

‘Confederate Veterans aa to whether the focus of the

45
 

 

5 Page dof 74

Bedford Forrest, a confederate general and first
national leader and “Grand Wizard” of the Ku Klux Klan;
Parrish's office was decorated with confederate
mamorabilia. Several other city police officers were
members of the Sons of Confederate Veterans, including
the officer who replaced Gray after his termination.
Gray complained about Parrish'’s association with the
group in an internal race-discrimination ‘complaint
described below. |

Gray also witnessed other racially offensive
private behavior from his fellow officers. For
example, he once viewed a picture on Officer Michael
Woodside’s Facebook page depicting the partially
charred face of President Obama and derogatory comments
about the Fresident. Moreover, Gray submitted a

 

organization should he a history or genealogy club, or
to promote racial extremism. In any case, it is clear
that representatives of the group have organised events

supporting the values of the Confederacy and its
asscciations with slavery and apartheid enforced by
violence.

46

 
Exhibit P

 

PICTURED IN THE IMAGE ABOVE, CARLTON OTT, CLARK RICE, STEVE HAMM,
STEVE PARRISH, DAVID JAY, MICHAEL MAGRINO, DEWAYNE HERRING, ANDY

47
 

NOTE ALL NOTES, HIGHLIGHTS AND WORD WRITTEN ON THE
PREVIOUS EXHIBITS ARE NOT THE PLAINTIFFS

48
 

Exhibit Q

 

49
Exhibit U

 

e oe Be

Feder] darees of seruggaien

 

 

   

P.O.
Monit meme ry. ee

 

AUR AE es Anai wean? Un teu Seavew Ab
AUSA Soule Breen

 

ees

beer re. Cagerys

   

a a.
ing referenend. Tmaivichan!

   
 
  

a, RUSA Code brow woe atvieed of che
aid ‘conc eed with the owt Llieer on of
ard ln cane Sap we.
ele ee eRe =

 

 

 

50

 
 

Exhibit R

 

 

 

 

 

teh Chere

eee oe a
eS

es Alpe Wee atl ee ee de an wre Se ee ee
Staned tai

 

Siem: oon Cae N 9904R00261

 

 

 

 

  

 

1 Seemed ret iy rt 38 re shir shana of came econ tls ene

     

 

re Reed al mp mn tin fe grt oe he Fre
ie Prowdemt, er wraps

 

 

( — | This cans htvolwes no-senietr. 0 7 10 pers ean inching spect ge
er chee ot or:

 
  

 
  

dos at tas Go of saceainenaried sma meee wet —

 

 

 

 

Hadgmicen tow US [Comite

    
 
 
  
   

 

Dectiewion
dadecel Teele oy

 

papper scans easesssesnsesenaenstssiaeionegumsivanendingoftemmnssesss

 

 

 

02/2106 we

ic EECA BRUNER LU GES

 

ASIANENRRNRNARE AS SA RRL RTL
Sa

i. ‘ 1 se Seoet lee ORE

51

 

 
Exhibit R

Leaked Documents Reveal Dothan Police Department Planted Drugs on
Young Black Men For Years, District Attorney Doug Valeska Complicit

 

[ Pictured in the image above, Carlton Ott, Clark Rice, Steve Hamm, Steve Parrish, David Jay, Dewayne Herring,
Andy Hughes, Gary Coleman, and Scott Smith ]

The Alabama Justice Project has obtained documents that reveal a
Dothan Police Department’s Internal Affairs investigation was covered
up by the district attorney. A group of up to a dozen police officers on a
specialized narcotics team are believed to have planted drugs and
weapons on young black men for years. They were supervised at the
time by Lt. Steve Parrish, current Dothan Police Chief, and Sgt. Andy
Hughes, current Asst. Director of Homeland Security for the State of
Alabama. All of the officers reportedly were members of a
Neoconfederate organization that the Southern Poverty Law Center

52

 
labels “racial extremists." The group has advocated for blacks to "return"
to Africa, published that the civil rights movement is really a Jewish
conspiracy, and that blacks have lower IQ's . Both Parrish and Hughes
held leadership positions in the group and are pictured above holding a
confederate battle flag at one of the club’s secret meetings.

The documents shared reveal that the internal affairs investigation was
covered up to protect the aforementioned officers' law enforcement
careers and keep them from being criminally prosecuted.

Several long term Dothan law enforcement officers, all part of an
original group that initiated the investigation, believe the public has a
right to know that the Dothan Police Department, and District Attorney

Doug Valeska, targeted young black men by planting drugs and weapons ~

on them over a decade. Most of the young men were prosecuted, many
sentenced to prison, and some are still in prison. Many of the officers
involved were subsequently promoted and are in leadership positions in
law enforcement. They hope the mood of the country is one that
demands action and that the US Department of Justice will intervene.
The group of officers requested they be granted anonymity, and shared
hundreds of files from the Internal Affairs Division. They reveal a
pattern of criminal behavior from within the highest levels of the Dothan
Police Department and the district attorney’s office in the 20th Judicial
District of Alabama. Multiple current and former officers have agreed to
testify if United States Attorney General Loretta Lynch appoints a
special prosecutor from outside the state of Alabama, or before a
Congressional hearing. The officers believe that there are currently
nearly a thousand wrongful convictions resulting in felonies from the
20th Judicial District that are tied to planted drugs and weapons and
question whether a system that allows this can be allowed to continue to
— operate.

53
Members of the Henry County Report have spent weeks analyzing the
documents. The originals, secured at an N.G.O. in Canada, are being
shared directly with attorneys in the U.S. Dept. of Justice Civil Rights —
Division, and are being made available to the lawyers of those falsely
convicted that seek to clear their names. The initial effort is to identify
the 50 potential victims identified in the case folders of the officer
investigated that were outstanding before the court at the time of his
investigation. Then further identify the drug arrests made by the other
members of the team that had written complaints filed against by fellow
_ officers, that alleged targeting of minorities as is evidenced in the letter
presented to the city commision in the leaked documents.

There are two federal lawsuits currently pending by former police

_ officers Keith Gray and Raemonica Carney against the Dothan Police
Department. They will be given access as well as they potentially
substantiate their claims of racial discrimination and city’s violation of a
federal court decree. _

The documents appear to serve as irrefutable evidence of criminal
activity at the highest levels of the Dothan Police Department.
Beginning in early 1996, the Dothan Police Department received
complaints from black victims that drugs and weapons were being
planted. Specifically young black men who had clean records were
targeted. Police Chief, John White, allegedly instructed senior officers to
ignore the complaints and they willingly complied.

In early 1998, we have been given information that a group of concerned
white officers from within the Police Department complained in writing
about what they witnessed. This is reflected in the document below

where it refers to a series of allegations that took place over 11 months
before the department acted. The initial written complaint from the

54
department’s own officers is dated June, 1998. The internal memo
documents the last allegation as occurring in April of 1999. Almost a
year of internal complaints by the department’s own police officers
passed before Chief White turned it over to the Internal Affairs Division.
On August 27, 1999 more than a dozen officers had allegations against
them for planting drugs and weapons on black men they had falsely
arrested. They were each notified of a formal investigation and required
to prepare statements in writing to the Internal Affairs Division. One was
then tested by polygraph examination, and reportedly failed. The
notification of charges reference a combination of marijuana, cocaine,
and guns being planted on citizens during arrests that were witnessed by
multiple fellow police officers.

All of these cases involving planted drugs and weapons were
subsequently prosecuted by District Attorney, Doug Valeska, despite the
written allegations by police officers that the evidence was planted.
Never was any such information shared in the discovery process with the
defendant’s attorneys. We have been advised that each of these are
considered potential felonies committed by the district attorney. The law
clearly requires that the prosecutor is required to turn over any evidence
that is favorable to the accussed. |

55
 

 

District Attorney Doug Valeska

One of the officers alleged to have planted drugs and guns, Michael
Magrino, now a private investigator working for the state’s Indigent _
Defense Fund was alleged to have stolen weapons and undocumented
drugs in his car. A former Dothan police officer familiar with the case
told us that “Under no circumstances was this legal, he (Magrino) should
have been immediately taken into custody prosecuted but he was not
because Lt. Parrish defended him and blocked it.” "They covered the
chiefs conference table, it was unbelievable what he had, all untagged or
documented."

Former Dothan police officer Michael Magrino
Magrino subsequently was administered a polygraph test in which he
failed miserably, which is illustrated below.

56
The documents leaked to us appear to reveal
that Magrino contacted District Attorney Doug
Valeska and Andy Hughes to intervene into the
Internal Affairs investigation. The internal
affairs investigatorKeith Gray as well spoke
with the district attorney. There is no
possibility that the district attorney can deny he
did not have knowledge of this incident nor the
investigation.

The head of the Internal Affairs investigation,

 

Sgt. Keith Gray, reportedly warned Magrino Former officer Michael Magrino
this was a violation of the departmental

procedures. Magrino then reportedly threatened to go to the press if he

was fired, according to the investigator and a taped interview with Andy
Hughes.

“He basically would have done anything to save his skin," one of the
officers told us.

In the internal affairs documents, three names worth noting appear
repeatedly.

Capt. Carlton “Bubba” Ott, now commander of the department’s
Criminal Investigation Division, Steve Parrish, current Chief, and Andy
Hughes, former Sheriff and current Director of Homeland Security for
the state.

57
   

Carleton "Bubba" Ott, Steve Parrish, and Andy Hughes

All were aware of the investigation and its outcome. All have been
rewarded with careers in law enforcement by those for whom they
covered, while those who spoke out were forced out of the department.
Disturbingly, Ott and Parrish have both attended the FBI academy. Both
were highly recommended by the district attorney and former Police
Chief, John White.

However, not one of these officers, or members of the district attorney’s
office, had the moral courage to do the right thing and correct the
wrongful prosecutions against the young men who had drugs and
weapons planted on them. Disturbingly, on his web site, John White
lists that he is a adjunct professor at Troy University’s Criminal Justice
Program and advertises asking people to let him protect them in the
courtroom.

All of these men are now in secure positions of leadership in law _
enforcement. Many of the men wrongly convicted however are still in
prison and have felonies on their record, their lives destroyed.

The results of a polygraph tests given to officers like Michael Magrino
were conclusive. The result was DECEPTION STRONGLY
INDICATED - probability of deception was greater than 99%.

58
The result of the internal affairs investigation found that many of the
officers should be discharged such as the document below states in
Officer Magrino’s case.

_ The scale of the problem facing the city is indicated in Magrino’s files
where it mentions some 50 cases alone in his arrests that were
questionably prosecuted. This number does not take into account the
previous cases where he was the arresting officer, or the nearly dozen
other officers in the squad with allegations against them by fellow
officers. On Magrino's web site he lists the following experience.

  

oper 1909 (7 yeare 2 meni)

 

Tnece hundreds of drug reeled seregie aa well ne tat up: untercover sings <j smno pincerd cameras
in undercs ef cars and had agents make purchases of strest ‘aval drugs throughout Alabama

   

Internal Affairs Sergeant, Keith Gray, recommended that Magrino be
immediately discharged, and his previous cases reopened for
investigation, and the judges and attorneys of those convicted be
immediately notified. Gray as, other officers, believed there were °
possibly hundreds of false arrests in the system by the group of officers,
historically perhaps over a thousand if one considers the officers who
had complaints against them on the team and their records of drug
arrests for the previous years.

However, at this point, our sources and the documents confirm the
investigation was shut down, and the files ordered “buried” by Police
Chief, John White, and District Attorney, Doug Valeska. The lead
investigator, Sgt Keith Gray was not allowed by his superior Chief John
White to continue the investigation into the other officers named. This
becomes evidenced by a "concerned group Dothan police officers" who

59
subsequently try to get the US Attorney involved but fail. White then
launched an investigation to determine which officers were writing the
letters and silent them. .

The original group of officers were dismayed that the investigation was
covered up. Even more disturbing, the officers responsible were then
promoted in the department. They allege the practice of planting drugs
continued for years on black men by those who were part of the group.
On November 9th an unsigned letter by the officers was put on Dothan
City Commissioner Don Clement’s desk. In the letter, officers detail
how the investigation was covered up and they used officer Magrino as
an example, referencing stolen guns and drugs in his patrol car.

They refer to the issue that Magrino, like the other dozen officers had,
executed hundreds of arrests that should be questioned in light of the
results of the internal affairs investigation.

The letter indicates that federal law enforcement authorities were not
notified as required by the department’s and state’s policies.

The letter directly implicates the top management of the Dothan Police
Department as being complicit in a cover up of hundreds of felonies.
Chief John White responded two weeks later in a letter to Dothan City
Manager Jerry Gwaltney copied below.

Note carefully that White stated in writing:

“AT NO TIME PREVIOUS, DURING OR SINCE, HAS ANY
INDIVIDUAL MADE AN ALLEGATION THAT THIS OFFICER
PLANTED OR MANUFACTURED EVIDENCE OR TESTIMONY IN
ANY CASE.”

This is at direct odds with the assertions of fellow officers and the lead
investigator who handled the case for the internal affairs department.
White appears to have completely misrepresented the ongoing internal
affairs investigation, that is evidenced in a letter to him by Sgt Keith

60
Gray where he found that one of the officers in question, Michael
Magrino, should be discharged.

Further, White seems to have forgotten the previous multiple written
complaints by fellow officers implicating a dozen officers who were
witnessed planting drugs and guns on black men dating back to 1998, or
the fact that he ordered the cases turned over to internal affairs in the
first place. |
White’s own words, as early as Nov 1999, are clear evidence of a cover
up.

Police Chief John White was then deposed in an unrelated lawsuit where
in June of 2001 he gave the following sworn deposition. Again, note that
White appears to mislead and give multiple false statements under oath.
At this point, he should have had his APOST certification stripped and
been prosecuted.

In the deposition, it appears that Police Chief, John White, now a lawyer
and Troy University criminal justice professor, is being misleading. With
the leaked internal affairs investigation now made public, it's obvious his
sworn testimony is at odds with his written words to city officials, and it
appears he lied under oath.

The larger issue could be no less than hundreds of wrongly convicted
black men and tens of millions of dollars in potential damages, as well
as potential prison terms for himself and the district attorney and those
who assisted them.

The original group of police officers responsible for the written
complaints were in disbelief and for years afterward attempted to get
federal assistance to help those wrongly convicted and continued to
warn of the practice of the narcotics team of planting drugs on young
black men. The officers who were responsible for the narcotics team,

61
Steve Parrish and Andy Hughes, continued to be advanced in rank and
were richly rewarded for their complicity in hiding the truth.

For two decades District Attorney, Doug Valeska, having full knowledge
of the situation, proceeded to earn a reputation across the Wiregrass as a
tough prosecutor while knowingly prosecuting black men whom he
knew the evidence was planted on them in their cases. The district
attorney’s office took in millions of dollars in court fees and their pre-
trial diversion program. —

The group of police officers who chose to notify federal authorities and
the US Attorney in a series of constructed letters to protect their own
safety documented is below as many had their lives threatened by fellow
officers.

By coming forward almost a decade later after these letters, this group of
officers who witnessed drugs and weapons being planted and had the
moral courage to bravely do the right thing are hoping the United States
Department of Justice will intervene. The want a specially appointed
federal prosecutor, from outside the state of Alabama to hold District
Attorney, Doug Valeska, former Chief, John White, current Chief, Steve
Parrish, Homeland Security Director, Andy Hughes, and Capt Carleton
Ott responsible. But most importantly, attempt to make those hundreds
of young black men’s lives whole again who have been victims of the
Dothan Police Department.

They believe the time for justice has come.

Editors note: We contacted Dothan Police Chief Steve Parrish regarding
this article and he declined comment, however we agreed to cooperate
with him to redact any personal information from the documents that we
share with the public that would compromise an ongoing investigation
or put an individual at risk.

62
63
